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                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 22-1216                                                September Term, 2024
                                                                   EPA-HQ-OPPT-2018-0465
                                                  Filed On: October 24, 2024 [2081788]
TDCE Consortium,

              Petitioner

      v.

Environmental Protection Agency,

              Respondent

                                        ORDER

      Upon consideration of the joint motion to extend deadlines, it is

       ORDERED this case be held in abeyance pending further order of the court.
The parties are directed to file motions to govern future proceedings in this case by
April 22, 2025.

                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Catherine J. Lavender
                                                         Deputy Clerk
